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8                         UNITED STATES DISTRICT COURT

9                       EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,                No. No. 2:19-cr-053 WBS
13                Plaintiff,

14       v.                                   ORDER
15   DENNIS MORITA,

16                Defendant.

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19             This matter is set for Judgment and Sentencing on
20   September 5, 2023.    In defendant’s letter to the court dated June
21   23, 2021, he states that, “I can honestly say that I did not
22   realize the implications of a felony conviction at the time of my
23   agreeing to the plea agreement.”        Specifically, he states that it
24   was not until after he entered his plea of guilty that he came to
25   realize that he could be precluded from practicing before the IRS
26   should he be convicted of a felony.       (See Docket No. 38 at 16.)
27   In its Rule 11 colloquy with defendant at the time of the plea,
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1    although the court advised him of several consequences of a

2    felony conviction, the court made no mention that defendant could

3    lose the right to practice before the IRS.

4              Further, in his “explanation of the charges”, defendant

5    states that, “I did not intentionally attempt to defraud anyone

6    out of money.”   (See Docket No. 38 at 18.)       That paragraph sounds

7    like a denial of his guilt on Count I of the Information.

8              Accordingly, on or before August 29, 2023, counsel for

9    defendant shall file a written statement advising (1) whether

10   defendant wises to withdraw his plea of guilty on Count 1, and

11   (2) whether if he still wishes to proceed on his plea of guilty

12   he admits that he acted with intent to defraud each of the

13   victims identified in the Presentence Report; and the United

14   States Attorney shall file a written statement advising whether

15   in the government’s opinion the court should proceed to sentence

16   defendant under these circumstances.

17             IT IS SO ORDERED.

18   Dated:   August 25, 2023

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